                    Case 23-11065            Doc 1       Filed 08/23/23 Entered 08/23/23 10:32:53                              Desc Main
                                                           Document     Page 1 of 49

Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Green Planet Landscape Services, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  17 West Roosevelt Road
                                  #729A
                                  Villa Park, IL 60181
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  DuPage                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Green Planet Landscape Services, Inc.                                                        Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    Green Planet Landscape Services, Inc.                                                           Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   Green Planet Landscape Services, Inc.                                       Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    Green Planet Landscape Services, Inc.                                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 23, 2023
                                                  MM / DD / YYYY


                             X /s/ Jennifer Stieb                                                         Jennifer Stieb
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X /s/ Joshua D. Greene                                                        Date August 23, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Joshua D. Greene
                                 Printed name

                                 SpringerLarsenGreene, LLC
                                 Firm name

                                 300 S. County Farm Road
                                 Suite G
                                 Wheaton, IL 60187
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     630-510-0000                  Email address      jgreene@springerbrown.com

                                 6292914 IL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         Green Planet Landscape Services, Inc.

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       August 23, 2023                 X /s/ Jennifer Stieb
                                                           Signature of individual signing on behalf of debtor

                                                            Jennifer Stieb
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                   Case 23-11065                            Doc 1              Filed 08/23/23 Entered 08/23/23 10:32:53                                                            Desc Main
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 Fill in this information to identify the case:

 Debtor name            Green Planet Landscape Services, Inc.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            27,500.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            27,500.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           832,049.27


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             832,049.27




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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Fill in this information to identify the case:

Debtor name         Green Planet Landscape Services, Inc.

United States Bankruptcy Court for the:      NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     FIfth Third Bank                                  Checking                              6037                                             $0.00




          3.2.     Old Second Bank                                   Checking                                                                               $0.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                           $0.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.



Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                        page 1
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Debtor       Green Planet Landscape Services, Inc.                                     Case number (If known)
             Name

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                        Net book value of         Valuation method used      Current value of
          Include year, make, model, and identification numbers      debtor's interest         for current value          debtor's interest
          (i.e., VIN, HIN, or N-number)                              (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.   2003 Chevrolet C4500 Dump Truck VIN
                  1GBE4E1E93F513884                                                  $0.00                                           $6,000.00


          47.2.   1999 Ford F350 Dump Diesel Truck VIN
                  1FDXF46FOXED44887 (not operating)                                  $0.00                                           $1,000.00


          47.3.   2000 Ford Pick up Crew Cab 4x4 VIN
                  1FTNW21S8YEB20045                                                  $0.00                                           $2,500.00


          47.4.   2000 Ford Pick Up Crew Cab 4X4 VIN
                  1FTSW31F3YEE39657                                                  $0.00                                           $2,500.00



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories



Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                       page 2
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Debtor        Green Planet Landscape Services, Inc.                                        Case number (If known)
              Name

50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           2011 United Enclosed Trailer18FT                                              $0.00                                   $4,000.00


           2007 Big Tex Equipment Trailer 14Ft                                           $0.00                                   $1,500.00


           Commercial mowers, string trimmers,
           blowings, parts, sod cutter, compactor, chain
           saws, trash pump, scaffolding, miscellaneous
           hand tools and shop tools                                                     $0.00                                  $10,000.00




51.        Total of Part 8.                                                                                                $27,500.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
              No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                page 3
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Debtor          Green Planet Landscape Services, Inc.                                                               Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                     $0.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $27,500.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                              $27,500.00          + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $27,500.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 4
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Fill in this information to identify the case:

Debtor name       Green Planet Landscape Services, Inc.

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.




Official Form 206D                         Schedule D: Creditors Who Have Claims Secured by Property                                           page 1 of 1
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Fill in this information to identify the case:

Debtor name        Green Planet Landscape Services, Inc.

United States Bankruptcy Court for the:         NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                                    Check if this is an
                                                                                                                                                    amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $21,870.00
          Anthony Colando                                                      Contingent
          3006 Royal Fox Drive                                                 Unliquidated
          Saint Charles, IL 60174                                              Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Deposit
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   Unknown
          B8 Construction, Inc.                                                Contingent
          7320 N. Kildare Ave.                                                 Unliquidated
          Lincolnwood, IL 60712                                                Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Deposit
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $88,070.85
          Brij & Prat Shah                                                     Contingent
          2427 Pamona Lane                                                     Unliquidated
          Wilmette, IL 60091                                                   Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Deposit
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $49,861.29
          Chase MilagePlus United                                              Contingent
          PO Box 15123                                                         Unliquidated
          Wilmington, DE 19850-5123                                            Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Credit card purchases and interest
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                          page 1 of 5
                                                                                                          33434
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Debtor      Green Planet Landscape Services, Inc.                                           Case number (if known)
            Name

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2,580.57
         CitiBank Mastercard                                          Contingent
         PO Box 790046                                                Unliquidated
         Saint Louis, MO 63179-0046                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases and interest
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $7,286.40
         Corran Glen Hoa                                              Contingent
         PO Box 314                                                   Unliquidated
         Wasco, IL 60183                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Prepaid season
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $5,896.80
         Diplomat West                                                Contingent
         c/o James Kelley                                             Unliquidated
         681 N. North Ave.                                            Disputed
         Elmhurst, IL 60126
                                                                   Basis for the claim: Prepaid season
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $0.00
         E Advance                                                    Contingent
         c/o RTR Recovery                                             Unliquidated
         370 Lexington Avenue, Suite 801                              Disputed
         New York, NY 10017
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $131,854.00
         Fundamental Capital                                          Contingent
         100 Garden City Plaza, Suite 410                             Unliquidated
         Garden City, NY 11530                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Merchant Cash Advance
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $49,527.92
         Fundbox                                                      Contingent
         300 Montgomery St.                                           Unliquidated
         Suite 900                                                    Disputed
         San Francisco, CA 94104
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $167,000.00
         GFE                                                          Contingent
         27-01 Queens Plaza North                                     Unliquidated
         Suite 802                                                    Disputed
         Long Island City, NY 11101
                                                                   Basis for the claim: Merchant Cash Advances
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 2 of 5
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Debtor      Green Planet Landscape Services, Inc.                                           Case number (if known)
            Name

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $6,376.00
         James Kelley                                                 Contingent
         6N131 Dinah Road                                             Unliquidated
         Medianah, IL 60157                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Prepaid season
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $4,474.17
         Kaknes Lanscape Supply                                       Contingent
         31W545 Diehl Road                                            Unliquidated
         Naperville, IL 60563                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Material Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $61,444.11
         Landscape Depot                                              Contingent
         27W130 North Ave.                                            Unliquidated
         West Chicago, IL 60185                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Material Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $40,869.97
         Landscape Material & Firewood Sales                          Contingent
         27W250 St. Charles Road                                      Unliquidated
         West Chicago, IL 60185                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Material Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2,512.80
         Lee Residence                                                Contingent
         c/o Leah Lee                                                 Unliquidated
         4055 River Ridge                                             Disputed
         Saint Charles, IL 60175
                                                                   Basis for the claim: Prepaid season
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,872.00
         Lincoln Square HOA                                           Contingent
         c/o Clark Simson Miller                                      Unliquidated
         PO Box 26941                                                 Disputed
         Charlotte, NC 28221
                                                                   Basis for the claim: Prepaid for mulch install
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $40,000.00
         LLSV                                                         Contingent
         370 Lexington Avenue, Suite 801                              Unliquidated
         New York, NY 10017                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Merchant Cash Advances
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 3 of 5
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Debtor      Green Planet Landscape Services, Inc.                                           Case number (if known)
            Name

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $5,580.00
         Maac Machinery                                               Contingent
         c/o Paul Alogny                                              Unliquidated
         590 Tower Road                                               Disputed
         Carol Stream, IL 60188
                                                                   Basis for the claim: Prepaid season
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $5,896.80
         Michael Johns                                                Contingent
         25W723 Durfee Road                                           Unliquidated
         Wheaton, IL 60187                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Prepaid season
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2,980.80
         NAI Hiffman                                                  Contingent
         c/o Mike Van Zandt, Ivanhoe Road,                            Unliquidated
         1 Oakbrook Terrace, Ste. 600                                 Disputed
         Oakbrook Terrace, IL 60181
                                                                   Basis for the claim: Prepaid season
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               Unknown
         Nuzzo Residence                                              Contingent
         821 Red Hawk Drive                                           Unliquidated
         Walworth, WI 53184                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Deposit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $54,053.29
         Rapid Finance                                                Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim: Merchant Cash Advances

                                                                   Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $4,400.00
         Shawn Fitzpatrick                                            Contingent
         225 Forest Ave.                                              Unliquidated
         Roselle, IL 60172                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Prepaid season
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $27,838.00
         Sheffield Towne Association                                  Contingent
         1000 North Walnut Lane                                       Unliquidated
         Schaumburg, IL 60194                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 4 of 5
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             Name

3.26      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $7,803.50
          Steven Hollon                                                       Contingent
          295 Elm Street                                                      Unliquidated
          Glen Ellyn, IL 60137                                                Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Remainder of deposit given for work (partial job
          Last 4 digits of account number                                  completed)
                                                                           Is the claim subject to offset?       No     Yes

3.27      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $40,000.00
          The LCF Group                                                       Contingent
          3000 Marcus Avenue                                                  Unliquidated
          Suite 2W15                                                          Disputed
          New Hyde Park, NY 11042
                                                                           Basis for the claim: Merchant Cash Advances
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                    related creditor (if any) listed?                account number, if
                                                                                                                                                     any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                             0.00
5b. Total claims from Part 2                                                                           5b.   +    $                       832,049.27

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                          832,049.27




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 5 of 5
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Fill in this information to identify the case:

Debtor name       Green Planet Landscape Services, Inc.

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Two year lease for
           lease is for and the nature of        1N711 Pilsen Road,
           the debtor's interest                 Building A, West
                                                 Chicago, IL
               State the term remaining          22 months
                                                                                    Michael Lullo
           List the contract number of any                                          134 West Lake St., #201
                 government contract                                                Addison, IL 60101




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Green Planet Landscape Services, Inc.

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Jennifer Stieb                                                                        Fundbox                            D
                                                                                                                                   E/F       3.10
                                                                                                                                   G




   2.2    Jennifer Stieb                                                                        Rapid Finance                      D
                                                                                                                                   E/F       3.23
                                                                                                                                   G




   2.3    Jennifer Stieb                                                                        The LCF Group                      D
                                                                                                                                   E/F       3.27
                                                                                                                                   G




   2.4    Jennifer Stieb                                                                        LLSV                               D
                                                                                                                                   E/F       3.18
                                                                                                                                   G




   2.5    Jennifer Stieb                                                                        Fundamental Capital                D
                                                                                                                                   E/F       3.9
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2
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         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.6     Jennifer Stieb                                                               GFE                                D
                                                                                                                          E/F   3.11
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 2
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Fill in this information to identify the case:

Debtor name         Green Planet Landscape Services, Inc.

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                               $748,524.00
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                             $1,086,008.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                             $1,207,498.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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Debtor       Green Planet Landscape Services, Inc.                                        Case number (if known)



      Creditor's Name and Address                            Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                 Check all that apply
      3.1.
              Landscape Depot                                7/12/23:                         $20,000.00           Secured debt
                                                             $12,000                                               Unsecured loan repayments
                                                             6/1/23:
                                                                                                                   Suppliers or vendors
                                                             $8,000
                                                                                                                   Services
                                                                                                                   Other


      3.2.
              LCF                                            7/17/23:                         $11,920.00           Secured debt
                                                             1192.00                                               Unsecured loan repayments
                                                             7/10/23:
                                                                                                                   Suppliers or vendors
                                                             1192.00
                                                                                                                   Services
                                                             7/11/23:
                                                             1192.00                                               Other Merchant Cash
                                                             7/12/23:                                            Advance Repayments
                                                             1192.00
                                                             7/13/23:
                                                             1192.00
                                                             7/14/23:1192.
                                                             00
                                                             7/17/23:
                                                             1192.00
                                                             7/18/23:
                                                             1192.00
                                                             7/24/23:
                                                             1192.00
                                                             7/25/23:
                                                             1192.00
      3.3.
              LLVS                                           7/3/23:                            $6,756.00          Secured debt
                                                             463.00                                                Unsecured loan repayments
                                                             7/5/23:
                                                                                                                   Suppliers or vendors
                                                             463.00
                                                                                                                   Services
                                                             7/6/23:
                                                             463.00                                                Other Merchant Cash
                                                             7/7/23:                                             Advances
                                                             463.00
                                                             7/10/23:
                                                             463.00
                                                             7/11/23:
                                                             463.00
                                                             7/12/23:
                                                             463.00
                                                             7/13/23:
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                                                             7/17/23:
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                                                             7/19/23:
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                                                             7/20/23:
                                                             300.00
                                                             7/21/23:
                                                             300.00
                                                             7/24/23:
                                                             300.00
                                                             7/25/23:
                                                             300.00



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Debtor       Green Planet Landscape Services, Inc.                                        Case number (if known)



      Creditor's Name and Address                            Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                 Check all that apply
      3.4.
              GFE                                            5/19/23:                                $0.00         Secured debt
                                                             1297.96                                               Unsecured loan repayments
                                                             5/22/23:
                                                                                                                   Suppliers or vendors
                                                             1297.96
                                                                                                                   Services
                                                             5/23/23:
                                                             1297.96                                               Other Merchant Cash
                                                             5/24/23:                                            Advances
                                                             1297.96
                                                             5/25/23:
                                                             1297.96
                                                             5/26/23:
                                                             1297.96
                                                             5/30/23:
                                                             1297.96
                                                             5/30/23:
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                                                             1297.96
                                                             6/26/23:
                                                             1297.96
                                                             6/27/23:
                                                             1297.99




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      Creditor's Name and Address                            Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                 Check all that apply
      3.5.
              GFE                                            6/27/23:                         $55,812.28           Secured debt
                                                             1297.96                                               Unsecured loan repayments
                                                             6/28/23:
                                                                                                                   Suppliers or vendors
                                                             1297.96
                                                                                                                   Services
                                                             6/29/23:
                                                             1297.96                                               Other Merchant Cash
                                                             6/30/23:                                            Advances
                                                             1297.96
                                                             7/3/23:
                                                             1297.96
                                                             7/6/23:
                                                             1297.96
                                                             7/7/23:
                                                             1297.96
                                                             7/10/23:
                                                             1297.96
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                                                             7/18/23:
                                                             1297.96




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      Creditor's Name and Address                            Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                 Check all that apply
      3.6.
              Fundamental Capital                            5/19/23:                                $0.00         Secured debt
                                                             1438.94                                               Unsecured loan repayments
                                                             5/22/23:
                                                                                                                   Suppliers or vendors
                                                             1438.94
                                                                                                                   Services
                                                             5/23/23:
                                                             1438.94                                               Other Merchant Cash
                                                             5/24/23:                                            Advances
                                                             1438.94
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Debtor       Green Planet Landscape Services, Inc.                                        Case number (if known)



      Creditor's Name and Address                            Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                 Check all that apply
      3.7.
              Fundamental Capital                            6/30/23:                         $63,073.42           Secured debt
                                                             1438.94                                               Unsecured loan repayments
                                                             7/3/23:
                                                                                                                   Suppliers or vendors
                                                             1438.94
                                                                                                                   Services
                                                             7/5/23:
                                                             1438.94                                               Other Merchant Cash
                                                             7/6/23:                                             Advances
                                                             1438.94
                                                             7/7/23:
                                                             1438.94
                                                             7/10/23:
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                                                             7/19/23:
                                                             1438.94
                                                             7/25/23:
                                                             1199.00
      3.8.
              Rapid Finance                                  5/23/23:                         $17,245.58           Secured debt
                                                             1724.58                                               Unsecured loan repayments
                                                             5/31/23:
                                                                                                                   Suppliers or vendors
                                                             1724.58
                                                                                                                   Services
                                                             6/6/23:
                                                             1724.58                                               Other Merchant Cash
                                                             6/13/23:                                            Advances
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Debtor       Green Planet Landscape Services, Inc.                                              Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.9.
              Fundbox                                              5/25/23:                         $21,404.73                Secured debt
                                                                   2549.25                                                    Unsecured loan repayments
                                                                   6/1/23:
                                                                                                                              Suppliers or vendors
                                                                   2549.37
                                                                                                                              Services
                                                                   6/8/23:
                                                                   2095.31                                                 Other Merchant Cash
                                                                   6/15/23:                                              Advances
                                                                   2247.90
                                                                   6/22/23:
                                                                   2247.90
                                                                   6/29/23:
                                                                   2247.90
                                                                   7/6/23:
                                                                   2066.25
                                                                   7/13/23:
                                                                   2520.82
                                                                   7/29/23:
                                                                   2880.03

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                  Status of case
              Case number                                                          address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.
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Debtor        Green Planet Landscape Services, Inc.                                               Case number (if known)




          None


Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

               Recipient's name and address            Description of the gifts or contributions                  Dates given                           Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received             If not money, describe any property transferred               Dates                Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     Springer Larsen Greene, LLC
                300 S. County Farm Rd.
                Suite G
                Wheaton, IL 60187                                                                                      8/1/23                     $2,838.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

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          None.

             Who received transfer?                    Description of property transferred or                     Date transfer             Total amount or
             Address                                   payments received or debts paid in exchange                was made                           value

 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and           Last 4 digits of            Type of account or          Date account was               Last balance
              Address                                  account number              instrument                  closed, sold,              before closing or
                                                                                                               moved, or                           transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.




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Debtor      Green Planet Landscape Services, Inc.                                                Case number (if known)




         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

Part 13:    Details About the Debtor's Business or Connections to Any Business

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Debtor      Green Planet Landscape Services, Inc.                                               Case number (if known)



25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        James F. Pappas                                                                                                    2021-Present
                    17W729 A Roosevelt Road
                    Villa Park, IL 60181

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                    % of interest, if
                                                                                                  interest                                      any
      Jennifer Stieb                          41 W 459 Brown Farm Court                           President and Sole                            100
                                              Saint Charles, IL 60175                             Shareholder



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.
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30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient             Amount of money or description and value of               Dates              Reason for
                                                       property                                                                     providing the value
      30.1                                             $25,200 Salary
      .    Jeffrey Stieb                               $5,400 payments for automobile
                                                       $3,759 payments for insurance                             2022-2023

             Relationship to debtor
             Husband of Owner


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         August 23, 2023

/s/ Jennifer Stieb                                              Jennifer Stieb
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor    President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                        United States Bankruptcy Court
                                                              Northern District of Illinois
 In re       Green Planet Landscape Services, Inc.                                                            Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     2,500.00
             Prior to the filing of this statement I have received                                        $                     2,500.00
             Balance Due                                                                                  $                         0.00

2.   $      338.00      of the filing fee has been paid.

3.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

4.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]


7.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     August 23, 2023                                                          /s/ Joshua D. Greene
     Date                                                                     Joshua D. Greene
                                                                              Signature of Attorney
                                                                              SpringerLarsenGreene, LLC
                                                                              300 S. County Farm Road
                                                                              Suite G
                                                                              Wheaton, IL 60187
                                                                              630-510-0000 Fax: 630-510-0004
                                                                              jgreene@springerbrown.com
                                                                              Name of law firm
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                                        United States Bankruptcy Court
                                                Northern District of Illinois
In re   Green Planet Landscape Services, Inc.                                      Case No.
                                                             Debtor(s)             Chapter    7




                                  VERIFICATION OF CREDITOR MATRIX

                                                                   Number of Creditors:                         29




        The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
        (our) knowledge.




Date:   August 23, 2023                           /s/ Jennifer Stieb
                                                  Jennifer Stieb/President
                                                  Signer/Title
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                      Anthony Colando
                      3006 Royal Fox Drive
                      Saint Charles, IL 60174


                      B8 Construction, Inc.
                      7320 N. Kildare Ave.
                      Lincolnwood, IL 60712


                      Brij & Prat Shah
                      2427 Pamona Lane
                      Wilmette, IL 60091


                      Chase MilagePlus United
                      PO Box 15123
                      Wilmington, DE 19850-5123


                      CitiBank Mastercard
                      PO Box 790046
                      Saint Louis, MO 63179-0046


                      Corran Glen Hoa
                      PO Box 314
                      Wasco, IL 60183


                      Diplomat West
                      c/o James Kelley
                      681 N. North Ave.
                      Elmhurst, IL 60126


                      E Advance
                      c/o RTR Recovery
                      370 Lexington Avenue, Suite 801
                      New York, NY 10017


                      Fundamental Capital
                      100 Garden City Plaza, Suite 410
                      Garden City, NY 11530


                      Fundbox
                      300 Montgomery St.
                      Suite 900
                      San Francisco, CA 94104
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                  GFE
                  27-01 Queens Plaza North
                  Suite 802
                  Long Island City, NY 11101


                  James Kelley
                  6N131 Dinah Road
                  Medianah, IL 60157


                  Jennifer Stieb



                  Kaknes Lanscape Supply
                  31W545 Diehl Road
                  Naperville, IL 60563


                  Landscape Depot
                  27W130 North Ave.
                  West Chicago, IL 60185


                  Landscape Material & Firewood Sales
                  27W250 St. Charles Road
                  West Chicago, IL 60185


                  Lee Residence
                  c/o Leah Lee
                  4055 River Ridge
                  Saint Charles, IL 60175


                  Lincoln Square HOA
                  c/o Clark Simson Miller
                  PO Box 26941
                  Charlotte, NC 28221


                  LLSV
                  370 Lexington Avenue, Suite 801
                  New York, NY 10017


                  Maac Machinery
                  c/o Paul Alogny
                  590 Tower Road
                  Carol Stream, IL 60188
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                  Michael Johns
                  25W723 Durfee Road
                  Wheaton, IL 60187


                  Michael Lullo
                  134 West Lake St., #201
                  Addison, IL 60101


                  NAI Hiffman
                   c/o Mike Van Zandt, Ivanhoe Road,
                  1 Oakbrook Terrace, Ste. 600
                  Oakbrook Terrace, IL 60181


                  Nuzzo Residence
                  821 Red Hawk Drive
                  Walworth, WI 53184


                  Rapid Finance



                  Shawn Fitzpatrick
                  225 Forest Ave.
                  Roselle, IL 60172


                  Sheffield Towne Association
                  1000 North Walnut Lane
                  Schaumburg, IL 60194


                  Steven Hollon
                  295 Elm Street
                  Glen Ellyn, IL 60137


                  The LCF Group
                  3000 Marcus Avenue
                  Suite 2W15
                  New Hyde Park, NY 11042
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                                          United States Bankruptcy Court
                                                 Northern District of Illinois
 In re   Green Planet Landscape Services, Inc.                                        Case No.
                                                             Debtor(s)                Chapter     7




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Green Planet Landscape Services, Inc. in the above captioned action, certifies that
the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10%
or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:



  None [Check if applicable]




August 23, 2023                                  /s/ Joshua D. Greene
Date                                             Joshua D. Greene
                                                 Signature of Attorney or Litigant
                                                 Counsel for Green Planet Landscape Services, Inc.
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